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  UNITED STATES BANKRUPTCY COURT                                    HEARING DATE: July 12, 2018
  SOUTHERN DISTRICT OF NEW YORK                                     HEARING TIME: 12:00 p.m.
  ------------------------------------------------------------- x   OBJECTION DEADLINE: July 5, 2018
  In re:                                                        :
                                                                :   Case No. 18-10785 (CGM)
  TEAR DROPS OF ELEGANCE, INC.,                                 :
                                                                :   (Chapter 11)
                                     Debtor.                    :
  ------------------------------------------------------------ x

         MEMORANDUM OF LAW IN SUPPORT OF UNITED STATES TRUSTEE’S
         MOTION TO DISMISS OR CONVERT CASE UNDER 11 U.S.C. § 1112(b)

 TO:     THE HONORABLE CECELIA G. MORRIS,
         CHIEF UNITED STATES BANKRUPTCY JUDGE:

         William K. Harrington, United States Trustee for Region 2 (the “United States Trustee”),

 hereby files his Memorandum of Law in Support of his Motion to Dismiss or Convert Case

 under 11 U.S.C. § 1112(b). In support of the Motion, the United States Trustee respectfully

 represents and alleges as follows:

 I.      INTRODUCTION

         The Debtor, which is a corporation, filed a pro se, skeletal chapter 11 petition on March

 22, 2018 apparently to stay eviction from its business premises. To date, the Debtor has failed to

 appear through counsel. The Debtor also failed to file Schedules, a Statement of Financial

 Affairs, Monthly Operating Reports, and other required documents and no one appeared on the

 Debtor’s behalf at the § 341(a) Meeting of Creditors. Based on these facts, cause to convert or

 dismiss the Debtor’s case exists on at least three grounds: (1) As a corporation, the debtor may

 not appear in bankruptcy court pro se; (2) there was an “unexcused failure to satisfy timely any

 filing or reporting requirement established by this title or by any rule applicable in a case under

 this chapter” under § 1112(b)(4)(F); and (3) The Debtor failed to appear for examination under

 oath at the scheduled § 341(a) meeting of creditors, which constitutes cause under §

 1112(b)(4)(G) If the Court determines that there is cause under § 1112(b)(4), dismissal is in the
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 best interest of creditors and the estate under § 1112(b)(1). Because of the skeletal filing, a

 chapter 7 trustee would likely be unable to administer the estate; and the Debtor’s landlord and

 other creditors may seek their remedies against the Debtor in non-bankruptcy forums.

 II.    FACTS

        A.      The Chapter 11 Case

        On March 22, 2018 (the “Petition Date”), the Debtor filed a pro se, skeletal chapter 11

 petition (the “Petition”). Petition, Exhibit 1 to the Declaration of Alicia M. Leonhard (the

 “Leonhard Declaration”), and Docket, as of June 18, 2018, Exhibit 2 to the Leonhard

 Declaration. The Debtor failed to include the signature of an authorized representative of the

 Debtor on the Petition. Petition, at 4. On March 26, 2018, the Debtor filed an amended

 signature page (the “Amended Signature Page”), adding the signature of Gilda S. Cruz, President

 and Owner of the Debtor. Amended Signature Page, Exhibit 1A to the Leonhard Declaration. In

 the Petition, the Debtor described itself as a “Corporation (including Limited Liability

 Company (LLC) and Limited Liability Partnership (LLP),” and designated itself as a small

 business debtor. Petition, at 1, § 6, and 2, § 8.

        The only documents the Debtor has filed in the case since the Petition Date are the

 Petition, Amended Signature Page, and Creditor Mailing Matrix. Exhibit 1. To date, the Debtor

 has failed to file Schedules, a Statement of Financial Affairs, and the documents small business

 debtors must file under 11 U.S.C. §§ 308 and 1116 and Federal Rules of Bankruptcy 1007 and

 2017, including financial statements, tax returns, and monthly operating reports. Docket, Exhibit

 2. The Debtor did not appear for the § 341(a) meeting, which was scheduled for April 26, 2018.




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        B.      The Action to Evict the Debtor from its Leased Business Premises

        The Debtor apparently filed the case to stay eviction from its business premises (the

 “Business Premises”), leased from 2232-2240 ACP Owner, LLC (the “Landlord”). The

 Landlord has been seeking to evict the Debtor from the Business Premises for non-payment of

 rent since it filed an action in the Civil Court of the City of New York, New York County, on

 April 28, 2015 (Index No. G3377/IS) (the “Eviction Action”). Declaration of Jeremy M. Poland,

 Esq. (the “Poland Declaration”) in support of the Landlord’s Motion for Relief from the

 Automatic Stay, filed on March 28, 2018, ¶¶ 3-14. (ECF Doc. No. 8). The Poland Declaration is

 attached as Exhibit 3 to the Leonhard Declaration.

        According to the Poland Declaration, the Civil Court issued a Warrant of Eviction on

 March 28, 2016. Poland Declaration, ¶ 6. Thereafter, the Landlord entered into four stipulations

 with the Debtor to settle the Eviction Action, but the Debtor defaulted on all of them. Id., ¶¶ 7-

 14. After the Debtor’s fourth default, the Landlord served the Marshal’s Notice of Eviction on

 the Debtor. In response, on July 25, 2017, Ms. Cruz, the Debtor’s president, filed chapter 13

 Case No. 17-12016 (CGM)), which was converted to chapter 7 on April 11, 2018 (the “Cruz

 Case”). Id., ¶ 14, and Cruz Case Docket, Exhibit 4 to the Leonhard Declaration, ECF Doc. Nos.

 1 and 34. The Landlord filed a Motion for Relief from the Automatic Stay in the Cruz Case on

 January 11, 2018, which the Court granted on March 1, 2018. ECF Doc. Nos. 25 and 29.

        Three weeks after the Landlord obtained relief from stay in the Cruz Case, the Debtor

 filed this chapter 11 case which again stayed the Landlord’s attempt to evict the Debtor from the

 Business Premises. On March 28, 2018, the Landlord filed a Motion for Relief from the

 Automatic Stay, which the Court granted on April 19, 2018. ECF Doc. Nos. 8 and 13,




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 III.   ARGUMENT

        A.      There is Cause to Dismiss or Convert the Debtor’s Case under
                11 U.S.C. § 1112(b)(4).

        Section 1112(b) provides, in part, that:

           (1) Except as provided in paragraph (2) and subsection (c), on request of a party in
        interest, and after notice and a hearing, the court shall convert a case under this chapter to
        a case under chapter 7 or dismiss a case under this chapter, whichever is in the best
        interests of creditors and the estate, for cause unless the court determines that the
        appointment under section 1104(a) of a trustee or an examiner is in the best interests of
        creditors and the estate.

 11 U.S.C. § 1112(b)(1).

        The Court may convert or dismiss a chapter 11 case upon a finding of cause under §

 1112(b)(4). In re FRGR Managing Member LLC, 419 B.R. 576, 580 (Bankr. S.D.N.Y. 2009).

 The moving party has the burden of proving that cause exists. In re the AdBrite Corporation,

 290 B.R. 209, 215 (Bankr. S.D.N.Y. 2001) (citations omitted). The Bankruptcy Court has “wide

 discretion to determine if cause exists and how to ultimately adjudicate the case.” In re the 1031

 Tax Group, LLC, 374 B.R. 78, 93 (Bankr. S.D.N.Y. 2007).

        Section 1112(b)(4) provides sixteen examples of cause, including (1) “unexcused failure

 to satisfy timely any filing or reporting requirement established by this title or by any rule

 applicable in a case under this chapter” under § 1112(b)(4)(F); and (2) “failure to attend the

 meeting of creditors convened under section 341(a) . . . without good cause shown by the debtor”

 under § 1112(b)(4)(G).

        The list of examples is nonexclusive “and courts are free to consider other factors.” In re

 BH S&B Holdings, LLC, 439 B.R. 342, 346 (Bankr. S.D.N.Y. 2010). “While the enumerated

 examples of cause . . . now listed in § 1112(b)(4) have changed under BAPCPA, the fact that

 they are illustrative, not exhaustive, has not.” 1031 Tax Group, 374 B.R. at 93, quoting In re



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 State Street Assoc., L.P., 348 B.R. 627, 639 (Bankr. N.D.N.Y. 2006) (internal quotation marks

 omitted).

        In this case, cause exists on at least three grounds: (1) the Debtor, which is a corporation,

 may not appear in the case pro se; (2) the Debtor has failed “to satisfy timely any filing or

 reporting requirement established by this title or by any rule applicable in a case under this

 chapter” under § 1112(b)(4)(F); and (3) the Debtor did not “attend the meeting of creditors

 convened under section 341(a) . . . without good cause shown by the debtor” under §

 1112(b)(4)(G).

                  1.    As a Corporation, the Debtor May Not Appear in Bankruptcy Court
                        Pro Se.

        Cause under § 1112(b) exists if a corporate debtor files a case pro se. Corporations and

 other entities may not appear in federal court except through counsel. Phillips v. Tobin, 548 F.2d

 408, 411 (2d Cir. 1976). “Corporations and partnerships, both of which are fictional legal

 persons, obviously cannot appear for themselves personally.” Id. (citations omitted). See also

 Frayler v. New York Stock Exchange, Inc., 118 F. Supp. 448, 451 n.2 (S.D.N.Y. 2000) (pro se

 appearance of a corporation in federal court is “at all times a nullity”). Grounds to dismiss a

 chapter 11 case, therefore, exist under Section 1112(b) when a pro se debtor is a fictitious person

 that must appear through counsel. See In re BSL Operating Corp., 57 B.R. 945, 948 (Bankr.

 S.D.N.Y. 1986) (chapter 11 case dismissed because corporate debtor filed pro se). See also In re

 RK Hospitality, LLC, 2011 WL 1116784, at *1 (Bankr. N.D. Ga. March 10, 2011) (court

 dismissed chapter 11 case because the corporate debtor had no counsel and could not proceed in

 bankruptcy pro se).

        Here, the Debtor identified itself as a corporation in the Petition. The Debtor’s president,

 Ms. Cruz, prepared and filed the Petition on the Debtor’s behalf. Because corporations may only


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 appear in Bankruptcy Court through counsel, and the Debtor filed the case pro se, there is cause

 to convert or dismiss the case under § 1112(b)(4).

                  2.     Cause to Convert or Dismiss Exists under § 1112(b)(4)(F).

        There is cause under § 1112(b)(4)(F) when there is an ““unexcused failure to satisfy

 timely any filing or reporting requirement established by this title or by any rule applicable in a

 case under this chapter[.]” In this case, the Debtor has failed to fulfill any of the filing and

 reporting requirements set forth in the Bankruptcy Code and Rules. Among other things, the

 Debtor has not filed Schedules and a Statement of Financial Affairs, as required under 11 U.S.C.

 § 521 and Federal Rules of Bankruptcy Procedure 1007 and 2017. The Debtor has not filed

 financial statements, tax returns, and other documents required of small business debtors under §

 1116 and monthly operating reports, required under § 308 and Federal Rule of Bankruptcy

 Procedure 2015(a)(6). Cause to convert or dismiss this case, therefore, exists under §

 1112(b)(4)(F).

                  3.     Cause Exists under § 1112(b)(4)(G) for the Debtor’s Failure to Attend
                         the § 341(a) Meeting of Creditors.

        All chapter 11 debtors must appear for examination under oath by the United States

 Trustee at the § 341(a) meeting of creditors. 11 U.S.C. § 341(a) and Fed. R. Bankr. P. 2003.

 The Debtor did not appear for the § 341(a) meeting scheduled for April 26, 2018. On this basis,

 cause to convert or dismiss the case also exists under § 1112(b)(4)(G).

        B.        Dismissal is in the Best Interests of Creditors and the Estate.

        After determining that cause exists, “the Court has broad discretion to either convert or

 dismiss the chapter 11 case. Although this discretion is not completely unfettered, the Court is

 not required to give exhaustive reasons for its decision.” AdBrite, 290 B.R. at 215, citing In re

 Koerner, 800 F.2d 1358, 1368 (5th Cir. 1986).


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        Here, dismissal, rather than conversion, is in the best interests of creditors and the estate.

 Because of the Debtor’s skeletal filing and failure to appear, the extent of the Debtor’s assets and

 liabilities is unknown and a trustee would likely be unable to administer the estate. Presumably,

 the Landlord has completed the eviction of the Debtor from the Business Premises and the

 Debtor has ceased business operations. The Landlord may continue to pursue the Eviction

 Action in the New York City Civil Court and other creditors may seek relief against the Debtor

 outside of bankruptcy.

 IV.    CONCLUSION

        Based on the foregoing, the United States Trustee respectfully requests that the Court

 dismiss the Debtor’s case and grant other relief as is just.

  Dated: New York, New York                            WILLIAM K. HARRINGTON
         June 18, 2018.                                UNITED STATES TRUSTEE, REGION 2

                                                       By: /s/ Alicia M. Leonhard
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